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                                 UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA


JURY TRIAL MINUTE ORDER

Case Nos. 3:20-cv-05671-JD & 3:21-md-02981-JD

Case Names: Epic Games, Inc. v. Google LLC et al; In re Google Play Store Antitrust Litigation

Date: November 20, 2023                           Time: 5 Hours & 19 Minutes

Judge: Hon. James Donato

Clerk: LISA R. CLARK                              Court Reporter: Kelly Shainline

COUNSEL FOR PLTF: Lauren Moskowitz, Yonatan Even, Gary Bornstein, Brent Byars, Andrew Wiktor,

John Hueston

COUNSEL FOR DEFT: Lauren Bell, Jonathan Kravis, Michelle Chiu, Brian Rocca, Kuru Olasa, Kyle Mach,

Justin Raphael, Glenn Pomerantz, Nick Sidney

Trial Began: November 6, 2023                     Further Trial: November 21, 2023

TRIAL MOTIONS HEARD:                              DISPOSITION:

1.

2.

3.

OTHER:

See Trial Log Attached
VERDICT:




DISPOSITION OF EXHIBITS:
